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CRIMINAL INFORMATION SHEET

Date: 4/12/2019 Judge: MJ McCarthy Deputy: Tami Calico
USPO: Sara Strahan ¥ MJ Cleary ¥ Stacy Turner
Interpreter: Yes v No MJ Jayne Stephanie Cope
Case No. _19-mj-81-PJC USA v. Sebastian Cobelo

Date of Arrest:__04/12/2019 Arrested By:_USM ¥ Detention Requested by AUSA
Bail Recommendation: Unsecured

Additional Conditions of Release:

a. b. p ( 1. 2, 3, 4, 5, 6)

c. d. q ( l, 2, 3, 4, 5; 6, 7, 8)
e. r ( 1, 2, 3 4, 5, 6)

f: g. h. i. j. s

k. I. m. n. o. t (other)

Defendant Requests Federal Public Defender/Ct. Appt. Counsel: ¥ Yes No

Defendant's Attorney: [/O(VL Wingy FPD; ver. Appt; — Ret Counsel

AUSA: Mark Morgan
MINUTES:

Interpreter: : 1 Sworn

# Defendant appears in person for [A on: 1 Indictment; J Information; P-Complaint; 0 Petition; O Rule 5
with: © Ret Counsel; (FPD; Ct. Appt; J w/o Counsel

p Financial Affidavit received and FPD/CJA appointed; vi Present 1 Not Present

Defendant’s name as reflected in the indictment/information/complaint/petition/Rule 5 is the true and correct legal name:
CO) Verified in open court

CJ Corrected by interlineation to
to reflect Defendant’s true and correct name and all previous filings are amended by interlineation to reflect same.

C1 Unable to verify in open court: (U.S. Atty. to verify & advise court; (J Defendant’s Attorney to verify & advise court;

Waivers executed and filed: © of Indictment; 0 of Preliminary Exam; 0) of Detention Hearing; OJ of Rule 5 Hearings

OC Bond set for : Bond and conditions of release executed

CJ Government’s Motion for Detention and Detention Hearing filed in open court
©) Arraignment held and Defendant pleads Not Guilty; Court accepts plea; J Scheduling dates to be mailed to counsel

C1 Initial Appearance continued to: at a.m./p.m.

© Arraignment scheduled: at a.m./p.m.

Detention Hearing scheduled: L¢-l7 + q at 2 “( D a.m./p.m.
Preliminary Exam scheduled: G7 A at ZO a.m./p.m.

q Defendant remanded to custody of U.S. Marshal: | ©) Pending further proceeding; CO) Pending release on bond for treatment
Mot. for Detention # Th Granted; Denied; Moot Mot. for Hearing i. Mperane Denied; O Moot

Additional Minutes:

Criminal Information Sheet CR-24 (8/16)
